Case 2:04-cr-20348-.]DB Document 32 Filed 08/26/05 Page 1 of 2 Page|D 45

IN THE UNITEI) STATES nls'rRlCT COURT ` '
FOR THE WESTERN DISTRICT 0F TENNESSEE L'§ hug ;>,5 511 {;= o g
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA

v. N0.2:04cr20348 .]DB-sta-ALL

RAYMOND WAYNE BECTON

 

ORDER GRANTING MOTION TO CONTINUE SURRENDER DATE

 

This cause came onto be heard upon the Motion to Continue flled by Counsel for
Defendant, Lesh`e I. Ballin. lt appearing to the Court that the Motion is Well taken and Should be

granted

lT lS THEREFORE, ORDERED, ADJUDGED AND DECREED, by this Court that the

Defendant’s Surrender Date of August 31, 2005 is hereby continued S`lxty (60) days to

he 519 day of &',f[)b{;f" , 2005 at &:g) o’cloek (a.mf

®M\

US// )§7 JUDGE
D\

 

Time Shall be excluded under the Speedy Trial Act.

DATE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20348 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

